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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 EVANSTON INSURANCE COMPANY,

       Plaintiff,
 v.                                             Case No. 2:21-cv-00062-FTM-38MRM

 MESOAMERICAN BUILDERS, INC.,

       Defendant.
 ___________________________________/
 MESOAMERICAN BUILDERS, INC.,

       Counter-Plaintiff,
 v.

 EVANSTON INSURANCE COMPANY,

       Counter-Defendant.
 ___________________________________/


              DEFENDANT MESOAMERICAN BUILDERS, INC.’S
                 ANSWER AND AFFIRMATIVE DEFENSES,
               COUNTERCLAIM FOR DECLARATORY RELIEF,
                   AND DEMAND FOR A JURY TRIAL

       COMES         NOW,       Defendant/Counter-Plaintiff        MESOAMERICAN

 BUILDERS, INC. (“Mesoamerican”), by and through its undersigned counsel, and

 hereby files its Answer and Affirmative Defenses to the Plaintiff/Counter-Defendant

 EVANSTON INSURANCE COMPANY’S (“Evanston”) Complaint for Declaratory

 Relief, and files its Counterclaim for Declaratory Relief against Evanston, as follows:
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                   MESOAMERICAN BUILDERS, INC.’S ANSWER

                               NATURE OF THE ACTION

           1.    Admitted that Evanston has filed this action seeking declaratory relief

 and admitted for jurisdictional purposes only and denied that Evanston is entitled any

 relief.

                                      THE PARTIES

           2.    Without sufficient knowledge and therefore, denied.

           3.    Admitted for jurisdictional purposes only.

           4.    Admitted for jurisdictional purposes only.

                             JURISDICTION AND VENUE

           5.    Admitted for jurisdictional purposes only.

           6.    Admitted for jurisdictional purposes only.

           7.    Admitted for jurisdictional purposes only.

           8.    Admitted for venue purposes only.

                                    BACKGROUND
                                 The Underlying Lawsuit

           9.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, without sufficient knowledge as to the reminder, therefore denied.

           10.   Denied.

           11.   Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies the allegation.

           12.   Denied.


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        13.    Admitted that in paragraph 87, the Underlying Lawsuit alleges that “On

 or about December 16, 2018, Decedent was doing work for Mesoamerican…”, but also admits

 that the Underlying Lawsuit, in paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128,

 and 134, states the exact same allegation only directed each of the other co-defendants:

 “On or about December 16, 2018, Decedent was doing work for [each of the other co-defendants

 in the Underlying Lawsuit]”, and otherwise denies the allegation.

        14.    Admitted that in paragraph 22, the Underlying Lawsuit alleges same, but

 also admitted that the Underlying Lawsuit, in paragraphs 30, 38, 46, 53, and 59, states

 the exact same allegation only directed each of the other co-defendants, and otherwise

 denies the allegation.

        15.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that either plaintiffs in the Underlying Lawsuit or Evanston are

 entitled to any relief.

                                     The Evanston Policy

        16.    Admitted.

        17.    Admitted.

        18.    Admitted.

        19.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.




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       20.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       21.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       22.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       23.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       24.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       25.    Without sufficient knowledge, therefore denied.

       26.    Denied.

                                   COUNT I
    Declaratory Judgment that Evanston has No Duty to Defend the Underlying
     Lawsuit Based on the Exclusion-Employer’s Liability and Bodily Injury to
                   Contractors or Subcontractors Endorsement

       27.    Mesoamerican repeats its answers to paragraphs 1-26 above.

       28.    Admitted for jurisdictional purposes only, otherwise denied.



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        29.    Denied.

        30.    Admitted that in paragraph 87, the Underlying Lawsuit alleges that “On

 or about December 16, 2018, Decedent was doing work for Mesoamerican…”, but also admits

 that the Underlying Lawsuit, in paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128,

 and 134, states the exact same allegation only directed each of the other co-defendants:

 “On or about December 16, 2018, Decedent was doing work for [each of the other co-defendants

 in the Underlying Lawsuit]”, and otherwise denies the allegation.

        31.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that either the plaintiffs in the Underlying Lawsuit or Evanston are

 entitled to any relief.

        32.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that the Underlying Lawsuit alleges that the Decedent (1) was an

 “employee” of only Mesoamerican, (2) was employed only by Mesoamerican, (3) was

 performing duties related only to Mesoamerican’s business, (4) was doing work only

 for Mesoamerican, and (5) was performing “labor” only for Mesoamerican. See

 Underlying Lawsuit paragraphs 9, ,17, 73, 80, 94, 101. 108, 115, 121, 128, and 134.

        33.    Denied that the Underlying Lawsuit alleges that Decedent (1) was an

 “employee” of only Mesoamerican, (2) was employed only by Mesoamerican, (3) was

 performing duties related only to Mesoamerican’s business, (4) was doing work only

 for Mesoamerican, and (5) was performing “labor” only for Mesoamerican. See

 Underlying Lawsuit paragraphs 9, ,17, 73, 80, 94, 101. 108, 115, 121, 128, and 134.

        34.    Denied.

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        35.    Denied.

        36.    Denied.

        37.    Denied.

        38.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder.

        39.    Admitted for jurisdictional purposes only.

                                  COUNT II
     Declaratory Judgment that Evanston has No Duty to Defend Based on the
              Workers’ Compensation And Similar Laws Exclusion

        40.    Mesoamerican repeats its answers to paragraphs 1-26 above.

        41.    Admitted for jurisdictional purposes only.

        42.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

        43.    Admitted only that the Underlying Lawsuit speaks for itself, and

 otherwise, denies that either the plaintiffs in the Underlying Lawsuit or Evanston are

 entitled to any relief.

        44.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

        45.    Denied.

        46.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder.

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        47.    Admitted for jurisdictional purposes only.

                                   COUNT III
   Declaratory Judgment that Evanston has No Duty to Pay Medical Expenses
 Under Coverage Part C of the Policy Based upon the Exclusions for Hired Persons
                and Workers’ Compensation And Similar Laws

        48.    Mesoamerican repeats its answers to paragraphs 1-26 above.

        49.    Admitted for jurisdictional purposes only.

        50.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

        51.    Admitted that in paragraph 87, the Underlying Lawsuit alleges that “On

 or about December 16, 2018, Decedent was doing work for Mesoamerican…”, but also admits

 that the Underlying Lawsuit, in paragraphs 9, 17, 73, 80, 94, 101, 108, 115, 121, 128,

 and 134, states the exact same allegation only directed each of the other co-defendants:

 “On or about December 16, 2018, Decedent was doing work for [each of the other co-defendants

 in the Underlying Lawsuit]”, and otherwise denies the allegation.

        52.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

        53.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.




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       54.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       55.    Denied.

       56.    Admitted only that Evanston seeks a judicial determination, but denied

 that Evanston is entitled to any relief and denied as to the remainder.

       57.    Admitted for jurisdictional purposes only.

                                  COUNT IV
       Evanston has No Duty to Indemnify Mesoamerican with respect to the
                              Underlying Lawsuit

       58.    Mesoamerican repeats its answers to paragraphs 1-26 above.

       59.    Admitted for jurisdictional purposes only.

       60.    Mesoamerican states that the Policy speaks for itself, and otherwise

 denies that any quoted exclusion or endorsement applies to the instant case, and

 therefore, denies the allegation.

       61.    Denied.

       62.    Denied.

      MESOAMERICAN BUILDERS, INC.’S AFFIRMATIVE DEFENSES

                               First Affirmative Defense

       Mesoamerican affirmatively alleges that it has complied with all conditions

 precedent and to the extent that it has failed to comply with any conditions precedent,




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 the failure to comply did not prejudice and/or is immaterial as an immaterial breach

 of the subject contract(s) of insurance.

                              Second Affirmative Defense

       Mesoamerican affirmatively alleges that Evanston has failed to comply with all

 conditions precedent to filing the instant action for declaratory relief such that its

 failure to comply has prejudiced and/or is a material breach of the subject contract(s)

 of insurance.

                               Third Affirmative Defense

       Mesoamerican affirmatively alleges that Evanston has failed to join necessary

 parties to this action, particularly the plaintiffs in the Underlying Lawsuit, as they have

 an interest and stake in the outcome of any declarations made by this Court.

                               Fourth Affirmative Defense

       Mesoamerican affirmatively alleges that Evanston has failed to state a cause of

 action upon which relief can be granted.

                                Fifth Affirmative Defense

       Mesoamerican affirmatively alleges that the endorsement titled “Exclusion-

 Employer’s Liability and Bodily Injury to Contractors or Subcontractors” bearing

 form number MEGL 1637 05 17 does not apply to the instant case as: (1) the decedent

 was not an employee or worker of Mesoamerican, (2) the decedent was not an

 employee or worker of any of Mesoamerican’s hired/engaged subcontractors, (3)

 Mesoamerican had no control over, and did not exercise any control over, the




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 decedent, (4) the decedent was not performing any labor for Mesoamerican, (5) the

 decedent was not performing any labor for any of Mesoamerican’s hired/engaged

 subcontractors, and/or (6) Mesoamerican was not in possession or control over the

 subject premises where the incident occurred and the decedent was not invited on to

 the subject premises by Mesoamerican. As such coverage is available and Plaintiff is

 estopped from asserting “Exclusion-Employer’s Liability and Bodily Injury to

 Contractors or Subcontractors” as a basis for denial of coverage and of its duties to

 defend and indemnify Mesoamerican.

                              Sixth Affirmative Defense

         Mesoamerican affirmatively alleges that Evanston has the duty to defend

 Mesoamerican from the claims of the plaintiffs in the Underlying Lawsuit as pled in

 their Complaint against Mesoamerican and others as pending in the Circuit Court of

 the Twentieth Judicial Circuit, in and for Collier County, Florida, Case No. 2020-CA-

 3924.

                            Seventh Affirmative Defense

         Mesoamerican affirmatively alleges that Evanston has the duty to indemnify

 Mesoamerican from the claims of the plaintiffs in the Underlying Lawsuit as pled in

 their Complaint against Mesoamerican and others as pending in the Circuit Court of

 the Twentieth Judicial Circuit, in and for Collier County, Florida, Case No. 2020-CA-

 3924.




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                              Eighth Affirmative Defense

       Mesoamerican affirmatively alleges the benefits of Florida Statutes §§626.9373

 and 57.104 for the purpose of recovering their attorneys’ fees and legal assistant fees.

 The undersigned has been hired by Mesoamerican to defend this action, and

 Mesoamerican is required to compensate counsel for the same.

                   MESOAMERICAN BUILDERS, INC.’S
                COUNTERCLAIM FOR DECLARATORY RELIEF

       COMES         NOW,         Defendant/Counter-Plaintiff      MESOAMERICAN

 BUILDERS, INC. (“Mesoamerican”), by and through its undersigned counsel, and

 hereby files its Counterclaim for Declaratory Relief against Plaintiff/Counter-

 Defendant EVANSTON INSURANCE COMPANY’S (“Evanston”), and alleges as

 follows:

                             NATURE OF THE ACTION

       1.     This is an insurance coverage action seeking declaratory relief pursuant

 to 28 U.S.C. §§ 2201 and 2202.

       2.     Mesoamerican seeks a declaration that Evanston has an obligation to

 defend and indemnify Mesoamerican against claims in an underlying lawsuit that

 arises out of injuries suffered by Mr. Fernando Sorcia Beristain (“Decedent”) on or

 about December 16, 2018, pursuant to the terms and conditions of the Commercial

 General Liability Policy of insurance issued by Evanston to Mesoamerican.




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                                      THE PARTIES

        3.     Mesoamerican is a Florida Corporation with its principal place of

 business in Collier County, Florida.

        4.     Upon information and belief, Evanston is an Illinois insurance company

 authorized to conduct business in the state of Florida.

                             JURISDICTION AND VENUE

        5.     This Court has subject matter jurisdiction over this action for declaratory

 relief pursuant to 28 U.S.C. §§ 2201 and 2202 and Rule 57 of the Federal Rules of

 Procedure.

        6.     An actual justiciable controversy between Mesoamerican and Evanston

 exists within the meaning of 28 U.S.C. §2201 regarding the parties’ rights and

 obligations under the applicable policy of insurance with respect to the allegations

 made in the underlying lawsuit filed by Juan Bazo as Personal Representative of the

 Estate of Fernando Sorcia Beristain styled Juan Bazo as Personal Representative of the

 Estate of Fernando Sorcia Beristain, and on behalf of Fernando Sorcia Beristain and the

 Survivors of the Estate, Minor, Marjorie Sorcia Benitez and Minor, Yailin Fernanda Sorcia

 Benitez v. Sunshine Building Group Properties, LLC, Sunshine Building Group, Inc.,

 Mesoamerican Builders, Inc., Atlantis Construction of Naples Drywall Division, Inc., Atlantis

 Construction of Naples, Inc., Fallsafe Solutions, LLC, Joel D’Aquino, Individually, and Joel

 D’Aquina d/b/a Joel D’Aquino filed in the Circuit Court of Collier County, Florida,

 under Case No. 2020-CA-003924 (the “Underlying Lawsuit”). The Complaint

 (“Underlying Complaint”) in the Underlying Lawsuit was attached as Exhibit “A” to

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 Evanston’s Complaint in this matter and is not being attached to this Counterclaim

 but is incorporated herein by reference.

        7.     This Court has diversity jurisdiction pursuant to 28 U.S.C. §1332(a)(1)

 because the amount in controversy exceeds $75,000, exclusive of interest and costs,

 and the suit is between citizens of different states.

        8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 in that a

 substantial part of the events or omissions giving rise to the Underlying Lawsuit

 occurred in Collier County, Florida, which is within this district and the Underlying

 Lawsuit’s venue is in Collier County, Florida.

                                   BACKGROUND
                                 The Underlying Lawsuit

        9.     This action arises out of the Underlying Lawsuit, wherein it is alleged,

 inter alia, that on or about December 16, 2018, the Decedent died while working on a

 construction project located at 545 Production Blvd., Naples, FL 34104 (the “Project”)

 due to the negligence of Mesoamerican and others.

                                The Evanston CGL Policy

        10.    Evanston issued to Mesoamerican a Commercial General Liability

 Policy No. 3AA159403, effective January 29, 2018 to January 29, 2019 (the “Policy”),

 which was attached as Exhibit “B” to Evanston’s Complaint in this matter and is not

 being attached to this Counterclaim but is incorporated herein by reference.

        11.    The Policy’s Named insured is Mesoamerican Builders, Inc.




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        12.     The Policy provides limits of $1,000,000 for Each Occurrence, with

 $2,000,000 General Aggregate limits of liability insurance, and $5,000,000

 Construction Project General Aggregate Limit/Maximum Annual Limit of Insurance

 (see Policy form MEGL 0313 02 17).

        13.     Section I Coverages; Coverage A – Bodily Injury and Property Damage

 Liability; 1. Insuring Agreement, states “a. We will pay those sums that the insured

 becomes legally obligated to pay as damages because of “bodily injury”… to which

 this insurance applies. We will have the right and the duty to defend the insured against

 an “suit” seeking those damages.”

        14.     Section I Coverages; Coverage A – Bodily Injury and Property Damage

 Liability; 1. Insuring Agreement, states “e. Damages because of “bodily injury”

 includes damages claims by any person … for … death resulting at any time from the

 “bodily injury.”

                                       THIS CASE

        15.     An actual controversy exists because Mesoamerican is in doubt as to its

 rights, duties, and the obligations owed to it by Evanston pursuant to the Policy and

 the Policy’s applicability to Underlying Lawsuit, and is in need of a judicial declaration

 of the same.

        16.     More specifically, Mesoamerican believes coverage is available under the

 Policy because, inter alia:

                a. The Underlying Complaint alleges that the death of the Decedent (i.e.
                   “Bodily Injury”) was caused by the alleged negligence of
                   Mesoamerican (i.e. an “occurrence”) and others;

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              b. The Underlying Complaint alleges negligence by Mesoamerican that
                 constitutes an “occurrence” under the Policy, including, but not
                 limited to, claims of: (1) “negligently permitted scaffold
                 construction”, (2) “negligently permitted insufficient protective
                 equipment”, and (3) “(insufficient ladders/scaffolding equipment.”
                 (See Underlying Complaint paragraphs 84-86);

              c. The Underlying Complaint alleges that the “Bodily Injury”, including
                 death of the Decedent, occurred during the policy period of the
                 Policy;

              d. The Underlying Complaint does not allege that any of the other
                 defendants were acting as a either contractor or subcontractor for
                 Mesoamerican; and

              e. The Underlying Complaint alleges that the Decedent “was doing work
                 for…” not only Mesoamerican, but also for defendants Sunshine
                 Building Group, Inc., Sunshine Building Group Properties, LLC,
                 Atlantis Construction of Naples, Inc., Atlantis Construction of
                 Naples Drywall Division, Inc., Fallsafe Solutions, LLC, Joel
                 D'Aquino, Individually, and Joel D'Aquino d/b/a Joel D'Aquino.
                 (See Underlying Complaint paragraphs 9, 17, 73, 80, 94, 101, 108,
                 115, 121, 128, and 134.).

       17.    As a result of the Underlying Lawsuit, Mesoamerican is exposed to or

 could be held liable for:

              a. The cost of defending, handling, and/or settling claims against it; and

              b. The amount of any judgment entered against it for the “Bodily Injury”
                 and accompanying damages.

       18.    Mesoamerican has complied with all conditions precedent to the filing of

 this lawsuit, and notwithstanding the same, Evanston has denied the claims in

 question, and/or has reserved its rights to deny the claims in question. Alternatively,

 to the extent that Mesoamerican has failed to comply with any conditions precedent,

 the failure of Mesoamerican to comply with the same did not prejudice and/or is

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 immaterial as an immaterial breach of the Policy as such claims were or would have

 been denied Evanston. Alternatively, Evanston is estopped from asserting any

 defenses related to conditions precedent. More specifically, Mesoamerican has plainly

 given notice of the claims which are the subject of this action for declaratory relief to

 Evanston and/or its designated agents.

       19.    Mesoamerican has retained the undersigned and is obligated to pay them

 a reasonable fee for their services. Mesoamerican claims its attorneys’ fees and legal

 assistant fees pursuant to Florida Statutes §§626.9373 and 57.104, respectively, and

 costs pursuant to Florida Statute §57.041.

       WHEREFORE, pursuant to 28 U.S.C. §§ 2201 and 2202, Defendant/Counter-

 Plaintiff MESOAMERICAN BUILDERS, INC. respectfully requests declaratory

 judgment    against      Plaintiff/Counter-Defendant    EVANSTON            INSURANCE

 COMPANY declaring that:

       1.     This Court has jurisdiction over the subject matter;

       2.     This Court has jurisdiction over the parties in this matter;

       3.     Evanston has a duty to defend Mesoamerican in the Underlying Lawsuit;

       4.     Evanston has a duty to indemnify Mesoamerican as to the Underlying

              Lawsuit;

       5.     Mesoamerican is entitled to damages, including pre and post judgment

              interest;




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       6.    Pursuant to Florida Statutes §626.9373, §57.104, and §57.041,

             Mesoamerican is entitled to recover its attorneys’ fees and costs incurred

             in this action;

       7.    This Court retain jurisdiction for supplement proceedings pursuant to 28

             U.S.C.S. §2202, including but not limited to claims for damages for

             breach of Florida’s duty of good faith, allowing, if necessary,

             Mesoamerican to amend its pleadings to reflect such claims upon

             determination of coverage, or any other appropriate time; and

       8.    This Court grant all other and further relief as this Court deems just and

             proper.

                          DEMAND FOR A JURY TRIAL

       Mesoamerican demands a trial by jury on all claims and defenses so triable.



       DATED this 19th day of April, 2021.

                                       Respectfully submitted,

                                       CHEFFY PASSIDOMO, P.A.
                                       Counsel for Mesoamerican Builders, Inc.
                                       4100 W. Kennedy Blvd., Suite 335
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